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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS



 DMITRY BANDURIN, et al.,

                  Plaintiffs                           Case No. 1:19-cv-00255

         v.

 AEROFLOT RUSSIAN AIRLINES, et al.,

                  Defendants.


        DEFENDANT AEROFLOT RUSSIAN AIRLINES’ MOTION TO DISMISS
          PLAINTIFFS’ SECOND AMENDED CLASS ACTION COMPLAINT

        Defendant Public Joint Stock Company «Aeroflot - Russian Airlines» (“Aeroflot”), incorrectly

named herein as “Aeroflot Russian Airlines.” by and through its attorneys, moves this Court to dismiss

this action against Aeroflot for lack of personal jurisdiction and for failure to state a claim pursuant to

Rules 12(b)(2) and 12(b)(6) of the Federal Rules of Civil Procedure. To the extent the Second

Amended Complaint is not dismissed in its entirety, Aeroflot moves the Court to dismiss and/or strike

Plaintiffs’ class allegations to the extent the class definitions contain putative class members who

would not be able to establish that their claims arise out of or relate to Aeroflot’s connections to the

Illinois forum.


        WHEREFORE, for the reasons stated above and set forth more fully in Aeroflot’s

accompanying Memorandum in Support of this Motion and supporting Declaration of Oliver

Beiersdorf, Defendant Public Joint Stock Company «Aeroflot - Russian Airlines» (“Aeroflot”),

incorrectly named herein as “Aeroflot Russian Airlines,” respectfully requests that this Court enter an

order (1) granting Aeroflot’s Motion to Dismiss; (2) dismissing all of Plaintiffs’ claims against Aeroflot
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with prejudice; (3) entering final judgment in favor of Aeroflot and against Plaintiffs; and (4) granting

such other and further relief as the Court deems just and proper.



Dated: April 26, 2019

                                                        Respectfully submitted,

                                                        AEROFLOT RUSSIAN AIRLINES

                                                        By: /s/ Karlin E. Sangdahl

                                                        Karlin E. Sangdahl
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                                  CERTIFICATE OF SERVICE

        I, Karlin E. Sangdahl, an attorney, state that on April 26, 2019, I electronically filed the

foregoing Motion to Dismiss Plaintiffs’ Second Amended Class Action Complaint with the Clerk of the Court

using the ECF system which will send notification to all parties.


                                                                /s/ Karlin E. Sangdahl




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